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                           UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

 DONA ANDREA LLC, an Illinois limited        )          Case No. 1:19-cv-06562
 Liability company,                          )
                                             )          Honorable Steven C. Seeger
                Plaintiff,                   )
                                             )          Magistrate Judge Heather K. McShain
        vs.                                  )
                                             )
 ASCLEPIUS LABORATORIES, INC., a             )         NOTICE OF SUGGESTION OF
 Delaware corporation, f/k/a Parcell         )         BANKRUPTCY FOR DEFENDANT
 Laboratories Inc., Stan Manoogian, James    )         ASCLEPIUS LABORATORIES, INC.,
 Brigham, John Levitt, Geoff MacKay and John )         AND AUTOMATIC STAY OF
 Misha Petkevich,                            )         PROCEEDINGS
                                             )
                Defendants.                  )
                                             )


        PLEASE TAKE NOTICE that Defendant Asclepius Laboratories, Inc. (“Asclepius”)

filed a voluntary bankruptcy petition under Chapter 7 of the United States Bankruptcy Code in

the United States Bankruptcy Court for the Eastern District of Missouri on December 5, 2020, as

Case No. 20-45598, attached hereto as Exhibit A. Under 11 U.S.C. § 362(a), the filing of the

Chapter 7 petition operates as an automatic stay of all further proceedings involving Asclepius in

this action.

Dated: December 7, 2020                                Respectfully submitted,




                                                 By:
                                                       Colby Anne Kingsbury (ARDC #6272842)
                                                       David W. Porteous (ARDC #6257459)
                                                       FAEGRE DRINKER BIDDLE & REATH LLP
                                                       311 S. Wacker Drive, Suite 4300
                                                       Chicago, IL 60606
                                                       Tel: (312) 212-6500
                                                       Fax: (312) 212-6501
                                                       colby.kingsbury@faegredrinker.com
                                                       david.porteous@faegredrinker.com
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                               CERTIFICATE OF SERVICE

       I hereby certify that on December 7, 2020, a true and exact copy of the foregoing was
served on all counsel of record via email delivery, via the Court’s CM/ECF system, and via
separate email to all parties on record.




                                                      David W. Porteous
